 

EXHIBIT 2 to Ps Resp to Ds MotExtDispMotDeadline

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From: Valerie Bateman
To: Nichols, Bryan
€e: Gill, Shanekqua
Subiect: Plaintiff's RPD and RFA to Defendants: Knechtaes v. NC DPS et al
Date: Wednesday, April 20, 2022 7:10:00 PM
Attachments: RPD to DPS 2020.04.20.pdf

P_RFA to D 2020.04,20,.pdf

 

Brian, Apologies for not getting these out sooner. See attached. Word docs to follow.
Kind regards, Valerie

Valerie L. Bateman

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